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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                        )
       Plaintiff,                                 )
                                                  )
         vs.                                      )     1:13-cr-00108-JMS-DKL-8
                                                  )
 JOSEPH BURTON,                                   )
        Defendant.                                )

                                             ORDER

         Presently pending before the Court is Defendant Joseph Burton’s Motion to Suppress.

 [Dkt. 120.] For the reasons explained, the Court DENIES the motion. Three of Mr. Burton’s

 codefendants also have suppression motions pending before the Court. The Court decides those

 motions in separate Orders also issued on this date.

         Unlike Mr. Burton’s codefendants’ motions, Mr. Burton’s Motion to Suppress is a bare

 bones filing. His one-page motion states only the following:

         Joseph Burton . . . moves the Court to suppress any and all evidence seized from
         his residence . . . and in support of said motion would state to the Court as fol-
         lows:

                1.     That there was insufficient probable cause to support the issuance
                       of the search warrant which was used for this search by law en-
                       forcement agents.

                2.     That such seizures were in violation of Mr. Burton’s rights as
                       guaranteed by the Fourth Amendment to the United States Consti-
                       tution.

                3.     That Defendant Burton would incorporate in his motion to sup-
                       press all the legal arguments put forth in both the motions and
                       memorandums of Defendants Jordan Allen, Jack Robbins, and
                       Robbyn Kaczmarek.

 [Id. at 1.]



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        Mr. Burton’s incorporation of his codefendants’ arguments without further explaining

 how these arguments pertain to his case or the specific search he challenges approaches an out-

 right waiver of any claim he has that the evidence at issue should be suppressed. See Wellness

 Int’l Network, Ltd. v. Sharif, 727 F.3d 751, 762 (7th Cir. 2013) (“A skeletal argument, really

 nothing more than an assertion, does not preserve a claim.”) (citations and quotation marks omit-

 ted); Anderson v. Gutschenritter, 836 F.2d 346, 349 (7th Cir. 1988) (“[E]ven an issue expressly

 presented for resolution is waived if not developed by argument.”). Mere incorporation of his

 codefendants’ arguments might be more appropriate if Mr. Burton was similarly situated to them

 in all material respects and one or more of them sought suppression of the evidence obtained at

 his residence, but neither is true. Therefore, his codefendants’ arguments do not explain why

 Mr. Burton has standing to challenge the GPS search of Ms. Kaczmarek’s vehicle or why there

 was insufficient probable cause to issue a warrant to search Mr. Burton’s residence. He has pro-

 vided the Court with no reasoning as to whether and to what extent Mr. Burton’s codefendants’

 arguments—which are tailored to their specific circumstances—may or may not apply to his

 unique circumstances. Cf. Gutierrez v. Kermon, 722 F.3d 1003, 1012 n.3 (7th Cir. 2013) (“We

 have repeatedly said that judges are not like pigs, hunting for truffles buried in briefs, or in the

 record, so it stands to reason that we will not go truffle hunting through all of the laws applicable

 in Indiana to identify an offense to fit [a party’s] conduct.”) (alterations, citations, and quotation

 marks omitted).

        In any event, even if the Court applies Mr. Burton’s codefendants’ arguments to Mr. Bur-

 ton’s Motion to Suppress, the Court denies Mr. Burton’s motion for all of the same reasons the




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 Court denies his codefendants’ motions on this date.1 Regarding whether there was sufficient

 probable cause to issue the search warrant challenged in Mr. Robbins’ Motion to Suppress, the

 Court concludes that the affidavit of Federal Bureau of Investigation Special Agent Todd Prewitt

 adequately established probable cause for issuance of the search warrant, and even if probable

 cause was not present, law enforcement relied in good-faith on the search warrant in conducting

 the searches and seizures authorized such that application of the exclusionary rule is unwarrant-

 ed. Nor is exclusion warranted as to any of the evidence obtained as a result of law enforce-

 ment’s use of a GPS device on Ms. Kaczmarek’s vehicle. First, for the reasons set for in the

 Court’s Order regarding Mr. Allen’s Motion to Suppress, Mr. Burton has not established that he

 has Fourth Amendment standing to challenge the use of a GPS device on Ms. Kaczmarek’s vehi-

 cle. Second, for the reasons set forth in the Court’s Orders regarding Ms. Kaczmarek’s and Mr.

 Allen’s motions, even if Mr. Burton had standing, the exclusionary rule would not apply be-

 cause: (1) the good-faith exception set forth in Davis v. United States, 131 S. Ct. 2419, 2426

 (2011), applies; and (2) law enforcement relied in good-faith on judicial authorization for its

 conduct, as this Court recently held in a similar case, United States v. Taylor, --- F.Supp.2d ----,

 2013 WL 5817246 (S.D. Ind. 2013).

        Accordingly, the Court DENIES Mr. Burton’s Motion to Suppress. [Dkt. 120.]


        04/07/2014
                                                      _______________________________

                                                        Hon. Jane Magnus-Stinson, Judge
                                                        United States District Court
                                                        Southern District of Indiana




 1
  The Court incorporates by reference the reasoning and analysis contained in the three other Or-
 ders denying Mr. Burton’s codefendants’ motions to suppress issued on this date.

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